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  of Attorneys for Northwest Farm Credit
 Services, FLCA and Northwest Farm
 Credit Services, PCA




                     IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF OREGON

 In re                                               Bankruptcy Case Nos.:

 Steven S. Sobella                                   17-34449-dwh12 (Lead Case)
 Brenda K. Sobella; and
 Sobella Nursery, Inc.,                              17-34446-dwh12

                                                     Jointly Administered Under
                                                     Case No. 17-34449-dwh12

                                                     Northwest Farm Credit’s Objection to
                 Debtors.                            Sobella Nursery, Inc.’s Notice of Intent to
                                                     Sell Real Property




Page 1 of 3 – Northwest Farm Credit’s Objection to Debtors’ Notice of Sell Real Property

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                      Case 17-34449-dwh12           Doc 225      Filed 05/22/20
       Northwest Farm Credit Services, FLCA (“FLCA”) and Northwest Farm Credit

Services, PCA (“PCA”) (collectively, “Farm Credit”) objects, for the limited purposes

noted herein, to the Notice of Intent to Sell Real or Personal Property, compensate

Real Estate Broker and/or Pay Any Secured Creditor’s Fees and Costs; Motion for

Authority to Sell Property Free and Clear of Liens; and Notice of Hearing (“Notice of

Intent”) (ECF No. 224). Farm Credit has no objection to the sale of the real property

identified in the Notice of Intent, unless it is not paid in full from the proceeds of that

sale. The Notice of Intent contains a statement that the Debtors’ dispute payment of

Farm Credit’s interest and fees from the sale proceeds. Because the real property

being sold is collateral securing two of Farm Credit’s loans, Farm Credit is entitled to

payment in full, including interest and fees.

        Prior to filing this objection, Farm Credit inquired into the nature of the dispute.

While it is not clear what the issue is regarding interest, the Debtors’ advised that Farm

Credit had not amended its proof of claims to add attorney fees as required by LBR

2016-1(h)(2)(iii) and (iv). The claim for post confirmation attorney fees is premature

because it is well prior to the end of the Plan period but Farm Credit amended its claim

to include those fees, to date. Farm Credit has reached out several times to the

Debtors’ counsel to resolve the dispute but has received no response.




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        To the extent that any order allowing the sale of the real property does not

satisfy Farm Credit’s two loans secured by the real property subject to the Notice of

Intent, including interest and fees, Farm Credit objects to the sale.

        Dated this 22nd day of May, 2020.

                                        SHERMAN, SHERMAN, JOHNNIE & HOYT, LLP



                                        By:_/s/ Gina Anne Johnnie____________________
                                          Gina Anne Johnnie, OSB No. 872630
                                          Of Attorneys for Creditors Northwest Farm Credit
                                          Services FLCA and Northwest Farm Credit
                                          Services, PCA

All necessary parties are electronically served via the Court’s ECF system.




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